      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 1 of 11 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FITNESS ANYWHERE LLC,
                                                    Case No. 19-cv-04155
               Plaintiff,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

               Defendants.


                                         COMPLAINT

       Plaintiff Fitness Anywhere LLC (“TRX” or “Plaintiff”) hereby brings the present action

against the Partnerships and Unincorporated Associations identified on Schedule A attached

hereto (collectively, “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Patent Act, 35 U.S.C. § 1, et seq., 28 U.S.C. § 1338(a)-(b) and

28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the

laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from

a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Online Marketplace
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 2 of 11 PageID #:2




Accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet

Stores”). Specifically, Defendants are reaching out to do business with Illinois residents by

operating one or more commercial, interactive Defendant Internet Stores through which Illinois

residents can purchase products featuring TRX’s patented design. Each of the Defendants has

targeted sales from Illinois residents by operating online stores that offer shipping to the United

States, including Illinois, accept payment in U.S. dollars and, on information and belief, has sold

products featuring TRX’s patented design to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused TRX substantial injury in the State of Illinois.

                                      II. INTRODUCTION

       3.      This action has been filed by TRX to combat online infringers who trade upon

TRX’s reputation and goodwill by selling and/or offering for sale unauthorized and unlicensed

products, namely the hand grips for exercise equipment shown in Exhibit 1, that infringe TRX’s

patented design, U.S. Patent No. D669,945 (the “Infringing Products”). The Defendants create

the Defendant Internet Stores by the dozens and design them to appear to be selling genuine

products, while actually selling Infringing Products to unknowing consumers. The Defendant

Internet Stores share unique identifiers, such as design elements and similarities of the infringing

products offered for sale, establishing a logical relationship between them and suggesting that

Defendants’ operation arises out of the same transaction, occurrence, or series of transactions or

occurrences. Defendants attempt to avoid liability by going to great lengths to conceal both their

identities and the full scope and interworking of their operation. TRX is forced to file this action

to combat Defendants’ infringement of its patented design, as well as to protect unknowing

consumers from purchasing Infringing Products over the Internet. TRX has been and continues



                                                 2
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 3 of 11 PageID #:3




to be irreparably damaged from the loss of its lawful patent rights to exclude others from

making, using, selling, offering for sale, and importing its patented design as a result of

Defendants’ actions and seeks injunctive and monetary relief.

                                      III. THE PARTIES

Plaintiff Fitness Anywhere LLC

       4.     Plaintiff Fitness Anywhere LLC (“TRX”) is a limited liability company organized

under the laws of the State of Delaware with its principal place of business at 1660 Pacific Ave,

San Francisco, CA 94109.

       5.     TRX is a leading provider of fitness-related technology, equipment, workout

programs, and education courses. TRX is also the exclusive owner of the brand TRX®.

       6.     TRX designs, manufactures, and sells, among other things, resistance products,

including various straps and ropes that are designed for body-weight resistance exercise

(collectively, the “TRX Products”).

       7.     TRX Products have become enormously popular among professional athletes and

recreational fitness enthusiasts alike, driven by the TRX brand’s arduous quality standards and

innovative designs. Thousands of people at all fitness levels now train with TRX – from

everyday people who want to feel and look their best, to some of the world’s most elite athletes.

TRX Products are used routinely by all four branches of the military, and can be found in the

locker rooms of Major League Baseball teams, National Football League football teams, UFC

fighters, and Olympic-level cyclists, swimmers and runners.

       8.     Among the purchasing public, genuine TRX Products are instantly recognizable

as such. In the United States and around the world, the TRX brand has come to symbolize high




                                               3
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 4 of 11 PageID #:4




quality, and TRX Products are among the most recognizable pieces of fitness equipment in the

world.

         9.    TRX Products are distributed and sold to consumers only through authorized

selling channels, including the official trxtraining.com website, the official TRX eBay and

Amazon stores, TRX authorized web affiliates, TRX authorized distributors, the TRX Training

Center in San Francisco, California, and at tradeshows and industry events.

         10.   TRX Products are known for their distinctive patented designs. These designs are

broadly recognized by consumers. Fitness equipment embodying these designs are associated

with the quality and innovation that the public has come to expect from TRX Products. TRX

uses these designs in connection with its TRX Products, including, but not limited to, the

following patented design, herein referred to as the “TRX Design.”



   Patent Number                        Claim                            Issue Date
      D669,945                                                         October 30, 2012




                                                4
Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 5 of 11 PageID #:5




                                   5
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 6 of 11 PageID #:6




       11.     TRX is the lawful assignee of all right, title, and interest in and to the TRX

Design. The patent for the TRX Design was lawfully issued on October 30, 2012 with named

inventors Stephanie Russo and Randal Hetrick. Attached hereto as Exhibit 2 is a true and

correct copy of the TRX Design.

       12.     TRX has not granted a license or any other form of permission to Defendants with

respect to the TRX Design.

The Defendants

       13.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial online marketplaces

operating under the Defendant Internet Stores.        Each Defendant targets the United States,

including Illinois, and has offered to sell, and, on information and belief, has sold and continues

to sell Infringing Products to consumers within the United States, including the State of Illinois.

       14.     On information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully make, use, offer for sale, sell, and/or import

into the United States for subsequent sale or use products that infringe directly and/or indirectly

the TRX Design in the same transaction, occurrence, or series of transactions or occurrences.

Tactics used by Defendants to conceal their identities and the full scope of their operation make

it virtually impossible for TRX to learn Defendants’ true identities and the exact interworking of

their network. In the event that Defendants provide additional credible information regarding

their identities, TRX will take appropriate steps to amend the Complaint.




                                                 6
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 7 of 11 PageID #:7




       15.     TRX has not licensed or authorized Defendants to use the TRX Design, and none

of the Defendants are authorized retailers of genuine TRX Products.

       16.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

On information and belief, Defendants regularly create new online marketplace accounts on

various platforms using the identities listed in Schedule A to the Complaint, as well as other

unknown fictitious names and addresses. Such Defendant Internet Store registration patterns are

one of many common tactics used by the Defendants to conceal their identities, the full scope

and interworking of their operation, and to avoid being shut down.

       17.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. The Defendant Internet Stores

include notable common features, including accepted payment methods, check-out methods,

meta data, illegitimate SEO tactics, lack of contact information, identically or similarly priced

items and volume sales discounts, the same incorrect grammar and misspellings, similar hosting

services, and the use of the same text and images, including content copied from TRX’s

trxtraining.com website.

       18.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online infringers use a variety of other common

tactics to evade enforcement efforts. For example, infringers like Defendants will often register

new online marketplace accounts under new aliases once they receive notice of a lawsuit.

Infringers also typically ship products in small quantities via international mail to minimize

detection by U.S. Customs and Border Protection.




                                                7
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 8 of 11 PageID #:8




       19.     Further, infringers such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of TRX’s enforcement efforts.           On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore infringers regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       20.     Defendants, without any authorization or license from TRX, have knowingly and

willfully offered for sale, sold, and/or imported into the United States for subsequent resale or

use products that infringe directly and/or indirectly the TRX Design, and continue to do so via

the Defendant Internet Stores. Each Defendant Internet Store offers shipping to the United

States, including Illinois, and, on information and belief, each Defendant has sold Infringing

Products into the United States, including Illinois.

       21.     Defendants’ infringement of the TRX Design in the offering to sell, selling, or

importing of the Infringing Products was willful.

       22.     Defendants’ infringement of the TRX Design in connection with the offering to

sell, selling, or importing of the Infringing Products, including the offering for sale and sale of

Infringing Products into Illinois, is irreparably harming TRX.

                                COUNT I
        INFRINGEMENT OF UNITED STATES DESIGN PATENT NO. D669,945
                            (35 U.S.C. § 271)

       23.     TRX hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.



                                                   8
      Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 9 of 11 PageID #:9




       24.      Defendants offer for sale, sell, and/or import into the United States for subsequent

resale or use Infringing Products that infringe directly and/or indirectly the ornamental design

claimed in the TRX Design.

       25.      Defendants have infringed the TRX Design through the aforesaid acts and will

continue to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused TRX

to suffer irreparable harm resulting from the loss of its lawful patent rights to exclude others

from making, using, selling, offering for sale, and importing the patented inventions. TRX is

entitled to injunctive relief pursuant to 35 U.S.C. § 283.

       26.      TRX is entitled to recover damages adequate to compensate for the infringement,

including Defendants’ profits pursuant to 35 U.S.C. § 289. TRX is entitled to recover any other

damages as appropriate pursuant to 35 U.S.C. § 284.

                                     PRAYER FOR RELIEF

WHEREFORE, TRX prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. offering for sale, selling, and importing any products not authorized by TRX and that

             include any reproduction, copy or colorable imitation of the design claimed in the

             TRX Design;

       b. aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon the

             TRX Design; and




                                                  9
    Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 10 of 11 PageID #:10




       c. effecting assignments or transfers, forming new entities or associations or utilizing

          any other device for the purpose of circumventing or otherwise avoiding the

          prohibitions set forth in Subparagraphs (a) and (b).

2) Entry of an Order that, upon TRX’s request, those in privity with Defendants and those with

   notice of the injunction, including, without limitation, any online marketplace platforms such

   as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts, sponsored

   search engine or ad-word providers, credit cards, banks, merchant account providers, third

   party processors and other payment processing service providers, Internet search engines

   such as Google, Bing and Yahoo (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

          future, to engage in the sale of goods that infringe the TRX Design;

       b. disable and cease displaying any advertisements used by or associated with

          Defendants in connection with the sale of infringing goods using the TRX Design;

          and

       c. take all steps necessary to prevent links to the Defendant Internet Stores identified on

          Schedule A from displaying in search results, including, but not limited to, removing

          links to the Defendant Internet Stores from any search index;

3) That TRX be awarded such damages as it shall prove at trial against Defendants that are

   adequate to compensate TRX for infringement of the TRX Design, and all of the profits

   realized by Defendants, or others acting in concert or participation with Defendants, from

   Defendants’ unauthorized use and infringement of the TRX Design;




                                               10
    Case: 1:19-cv-04155 Document #: 1 Filed: 06/20/19 Page 11 of 11 PageID #:11




4) That TRX be awarded from Defendants, as a result of Defendants’ use and infringement of

   the TRX Design, three times TRX’s damages therefrom and three times Defendants’ profits

   therefrom, after an accounting, pursuant to 35 USC § 284;

5) That TRX be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.

Dated this 20th day of June 2019.            Respectfully submitted,


                                             /s/ Justin R. Gaudio
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                                               11
